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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS




UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )
                                       )
v.                                     )                 Case No. 09-20046-04-CM (Criminal)
                                       )                          14-2608-CM (Civil)
FREDRICO RAMSEY,                       )
                                       )
                  Defendant.           )
_______________________________________)

                                  MEMORANDUM AND ORDER

       This matter is before the court on defendant Fredrico Ramsey’s pro se motion for discovery

(Doc. 785), petition to compel discovery (Doc. 822), and petition to take judicial notice (Doc. 823).

Defendant also filed a pro se petition to amend his original 28 U.S.C. § 2255 motion, and further

moves for reconsideration of the court’s prior ruling finding that Burrage v. United States, 134 S. Ct.

881, 892 (2014), was not retroactive (Doc. 857).

       Defendant’s pro se motions/petitions for discovery and judicial notice were filed prior to

counsel being appointed in this matter. Defendant’s pro se petition to amend and reconsider was filed

after counsel was appointed. Defendant’s counsel has not adopted any of the pro se filings referenced

above, and has filed no motions on defendant’s behalf. The government responds that defense counsel

requested and obtained discovery on March 28, 2016.

       The court does not consider pro se motions from defendants who are represented by counsel.

See United States v. Smith, 815 F.3d 671, 679 (10th Cir. 2016) (“[A] district court does not need to

consider pro se objections made by defendants represented by counsel.”). Defendant should work




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through any discovery issues and the need for a motion to amend and/or reconsider with his counsel—

who, if necessary, may refile these motions on defendant’s behalf.

       IT IS THEREFORE ORDERED that defendant Fredrico Ramsey’s pro se motion for

discovery (Doc. 785), petition to compel discovery (Doc. 822), petition to take judicial notice (Doc.

823), and petition to amend (Doc. 857) are denied without prejudice.

       Dated this 21st day of June, 2017, at Kansas City, Kansas.

                                                     s/ Carlos Murguia
                                                     CARLOS MURGUIA
                                                     United States District Judge




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